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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

    ELIZABETH SINES, et al.,

                       Plaintiffs,                         No. 3:17-cv-00072-NKM

       v.                                                  JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                       Defendants.

        DEFENDANTS DAVID MATTHEW PARROTT, MATTHEW HEIMBACH, AND
          TRADITIONALIST WORKER PARTY’S DEPOSITION DESIGNATIONS

            Defendants David Matthew Parrott, Matthew Heimbach, and Traditionalist Worker Party,

   by and through their counsel, respectfully submit the following designations of deposition

   testimony. Defendants reserve the right to: (a) use audio and/or video deposition excerpts and/or

   create demonstrative exhibits; (b) use any deposition designations listed by Plaintiffs or any

   other Defendant(s); (c) supplement these designations with those of any persons listed as trial

   witnesses by any party in the event that such witnesses are not available to testify at trial or are

   not called at trial; (d) designate additional portions of deposition transcripts for the purpose of

   authentication of documents, if required; (e) designate any deposition testimony taken after the

   date of these designations; and (f) use any and all deposition and/or trial testimony, whether or

   not designated, for cross-examination, impeachment, or rebuttal purposes.
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         Deposition Transcript          Date               Designations

   Chelsea H. Alvarado           July 15, 2020   32:18-38:21
                                                 41:12-42:13
                                                 43:2-43:16
                                                 45:16-46:9
                                                 47:10-50:7
                                                 51:9-51:25
                                                 53:2-53:14
                                                 56:15-57:13
                                                 62:25-63:14
                                                 65:24-70:17
                                                 71:9-73:10
                                                 112:16-118:16
                                                 125:5-131:22
                                                 141:23-146:3
                                                 148:15-155:12
   Thomas Baker                  July 17, 2020   11:23-31:20
                                                 49:2-50:7
                                                 51:17-53:8
                                                 56:16-58:11
                                                 59:3-59:13
                                                 60:17-66:18
                                                 71:21-78:25
                                                 81:2-81:25
                                                 85:4-87:7
   Marissa Christine Blair       July 9, 2020    24:6-26:5
                                                 26:13-27:14
                                                 28:15-28:24
                                                 30:7-30:13
                                                 32:7-32:10
                                                 34:9-36:10
                                                 37:11-44:22
                                                 45:11-67:12
                                                 73:18-75:12
   Marcus Martin                 July 14, 2020   10:8-19:25
                                                 35:12-38:25
                                                 41:19-42:20
                                                 47:24-54:16
                                                 55:4-55:19
                                                 58:9-59:19
                                                 61:17-62:25
                                                 74:12-75:25


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         Deposition Transcript          Date               Designations
   April Muniz                   July 17, 2020   14:20-40:15
                                                 44:11-47:8
                                                 49:20-50:25
                                                 52:3-55:3
                                                 58:17-60:12
                                                 67:2-67:16
                                                 69:14-70:12
   Natalie Romero                July 14, 2020   14:13-19:22
                                                 21:3-34:18
                                                 38:3-50:3
                                                 53:5-76:15
                                                 84:22-85:21
   Elizabeth Sines               July 8, 2020    15:11-15:21
                                                 18:19-20:6
                                                 23:10-26:10
                                                 28:9-28:19
                                                 32:3-38:13
                                                 40:22-53:17
                                                 65:10-78:18
                                                 86:20-90:25
                                                 96:8-98:23
                                                 109:14-109:25
                                                 112:15-114:15
                                                 118:15-124:11
                                                 139:2-198:7
   Devin Willis                  July 16, 2020   14:15-15:7
                                                 19:4-22:11
                                                 26:4-27:15
                                                 61:6-62:15
                                                 69:23-71:25
                                                 83:15-84:5




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         Deposition Transcript          Date                      Designations
   Seth Wispelwey                July 24, 2021         33:15-34:6
                                                       34:22-35:7
                                                       47:5-47:17
                                                       58:20-58:23
                                                       64:5-64:9
                                                       69:19-69:23
                                                       71:16-72:6
                                                       81:9-81:12
                                                       83:6-84:20
                                                       125:25-126:10
                                                       134:3-134:11
                                                       191:13-192:24
                                                       210:13-211:25




                                                 /s/ Joshua Smith
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                                                 Counsel for Defendants David Matthew
                                                 Parrott, Matthew Heimbach, and
                                                 Traditionalist Worker Party


   Dated: October 29, 2021




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on October 29, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on October 29, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

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   richardbspencer@gmail.com
                                                          Elliott Kline a/k/a Eli Mosley
   Vanguard America                                       eli.f.mosley@gmail.com
   c/o Dillon Hopper                                      deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                           eli.r.kline@gmail.com

          I hereby further certify that on October 29, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

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